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      WESTERN ASSET MANAGEMENT COMPANY LTD.,
 13   WESTERN ASSET MANAGEMENT COMPANY LIMITED,
      WESTERN ASSET MANAGEMENT COMPANY PTE. LTD.
 14
 15                       UNITED STATES DISTRICT COURT
 16                     CENTRAL DISTRICT OF CALIFORNIA
 17                                WESTERN DIVISION
 18
                               ) Case No. 2:18-cv-03523-SJO-GJS
 19   HOWARD WINSTON,          )
 20                            )
              Plaintiff,       ) [PROPOSED] ORDER ON
 21                            ) CORRECTED STIPULATION OF
          v.                   )
 22                               DISMISSAL WITH PREJUDICE
      WESTERN ASSET MANAGEMENT ) AGAINST THE WESTERN ASSET
 23   COMPANY, et al.,         )
                               ) DEFENDANTS
 24                            )
              Defendants
 25                            )
                               )
 26                            )
                               )
 27                            )
 28                            )

                                                 [PROPOSED] ORDER ON CORRECTED STIPULATION OF
                                                          DISMISSAL WITH PREJUDICE AGAINST THE
                                                                     WESTERN ASSET DEFENDANTS
                                                                     CASE NO. 2:18-cv-03523-SJO-GJS
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  1           The Court, having considered the Corrected Stipulation of Dismissal with
  2    Prejudice Against the Western Asset Defendants, ECF No. 75, orders as follows:
  3           Counts II and III of the Complaint are hereby DISMISSED WITH
  4    PREJUDICE and without costs awarded by the Court to any party.
  5           Western Asset Management Company, LLC, Western Asset Management
  6    Company Ltd., Western Asset Management Company Limited, Western Asset
  7    Management Company Pte. Ltd. are hereby DISMISSED WITH PREJUDICE as
  8    parties to the case.
  9           The Clerk is respectfully directed to terminate Western Asset Management
 10    Company, LLC, Western Asset Management Company Ltd., Western Asset
 11    Management Company Limited, Western Asset Management Company Pte. Ltd. as
 12    parties.
 13
 14           IT IS SO ORDERED.
 15
 16            1/28/19
 17    DATED: __________                By:
 18
                                              Hon. S. James Otero
                                              United States District Judge
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 28
                                                     [PROPOSED] ORDER ON CORRECTED STIPULATION OF
                                                              DISMISSAL WITH PREJUDICE AGAINST THE
                                                                         WESTERN ASSET DEFENDANTS
                                                                         CASE NO. 2:18-cv-03523-SJO-GJS
